     Case 2:21-cv-06968-RGK-MAR Document 59 Filed 03/06/23 Page 1 of 3 Page ID #:405




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12
                              UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                  Case No. 2:21-cv-06968-RGK-MAR
16
                 Plaintiff,                      PLAINTIFF UNITED STATES OF
17                                               AMERICA’S REPORT REGARDING
                        v.                       STATUS OF ONGOING CRIMINAL
18                                               INVESTIGATION
      $305,000.00 IN U.S. CURRENCY,
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                 Defendant.
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21
22
23 MICHAEL MAGEE,
24               Claimant.
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26     ///
27     ///
28     ///
     Case 2:21-cv-06968-RGK-MAR Document 59 Filed 03/06/23 Page 2 of 3 Page ID #:406




1            Pursuant to the Court’s Order filed March 8, 2022 on Plaintiff’s Motion to Stay
2      This Civil Forfeiture Proceeding, the Court stayed this civil forfeiture action pursuant to
3      18 U.S.C. § 981(g) pending an ongoing related federal criminal investigation. Docket
4      No. 39. The Court’s order instructed the government to file reports every ninety (90)
5      days, commencing June 6, 2022, regarding the status of the criminal investigation.
6      Accordingly, the government is hereby submitting this report regarding the status of the
7      related federal criminal investigation.1
8            Concurrently herewith, the government has filed an application pursuant to 18
9      U.S.C. § 981(g)(5) and Local Rule 79-6 to file or lodge in camera a non-public
10     declaration setting forth the status of the ongoing related federal criminal investigation.
11     Assuming that application is granted, the government will file or lodge the non-public
12     declaration with the Court. If the non-public declaration is deemed sufficient, and
13     pursuant to the Court’s Order filed March 8, 2022, the government will submit its next
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             1
22             The government is filing virtually identical status reports today in the following
       five cases: (1) United States of America v. $305,000.00 in U.S. Currency; Claimant
23     Michael Magee, Case No. 2:21-cv-06968-RGK-MAR; (2) United States of America v.
       $600,980.00 in U.S. Currency; Claimant Mitchell Magee, Case No. 2:21-cv-06965-
24     RGK-MAR; (3) United States of America v. $399,000.00 in U.S. Currency and
       Miscellaneous Items of Jewelry; Claimant Derrick Polk, Case No. 2:21-cv-06966-RGK-
25     MAR; (4) United States of America v. $341,500.00 in U.S. Currency; Claimant Ike
       Roberts, Case No. 2:21-cv-06967-RGK-MAR; and (5) United States of America v.
26     $217,285.00 in U.S. Currency, et al.; Claimant Mitchell Magee, Case No. 2:22-cv-00015
       RGK-MAR. The status report in the Polk case (2:21-cv-06966), unlike the others,
27     discusses the pending criminal case against Polk.
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                                                     1
     Case 2:21-cv-06968-RGK-MAR Document 59 Filed 03/06/23 Page 3 of 3 Page ID #:407




1      status report within 90 days of the filing of the instant status report (i.e., by June 5,
2      2023).
3      Dated: March 6, 2023                            Respectfully submitted,
4                                                      E. MARTIN ESTRADA
                                                       United States Attorney
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                                                       Assistant United States Attorney
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9                                                            /s/             _____________
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